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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

United States of America *
v. *k Criminal Case No. BX -19-cr-181
Rondell Henry * Plc ~ RECERED
EXPEDITED SENTENCING ORDER g, “GS US #EENGEUr
TRICT OF MARY GOURT

(1) On or before September 29, 2023 (not more than 40 days from the date of this order), ttREPuty
Probation Officer shall provide the initial draft of the presentence report to counsel for the
Defendant for review with the Defendant. If the Defendant is in pretrial detention, defense
counsel may not provide a copy of the recommendations section of the presentence report to the
Defendant in advance of mecting to review the presentence report, and may not leave the
recommendations section of the presentence report with the Defendant once the review has taken
place. The Probation Officer shall also provide the initial draft of the presentence report to
counsel for the Government and file the report through CM/ECF. Any objection to the
presentence report shall be provided in writing, on or before October 9, 2023 (not less than 14 days
before sentencing), and may result in the postponement of sentencing.

(2) If counsel for either party intends to call any witnesses at the sentencing hearing,
counsel shall submit, in writing, to the Court and opposing counsel, on or before
October 9, 2023 (not less than 14 days before sentencing), a statement containing (a) the names of the
witnesses, (b) a synopsis of their anticipated testimony, and (c) an estimate of the anticipated
length of the hearing.

(3) Sentencing memoranda are not required unless a party intends to request a

sentence outside the advisory guidelines range on the basis of a non-guideline factor. If

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submitted, they shall be filed with the Clerk and a copy delivered to chambers on or before

October 9, 2023 (not less than 14 days before sentencing). Opposing or responding memoranda are

not required. If submitted, they shall be delivered to chambers on or before

October 16, 2023 (not less than 7 days before sentencing). Copies of all memoranda must be sent to
the Probation Officer. Sentencing memoranda are not sealed documents. If the memoranda or
attachments contain sensitive material, they should be filed under seal and accompanied by a
motion to seal.

(4) If the Government intends to seek restitution, a memorandum requesting
restitution and all supporting documentation shall be filed on or before 10/9/2023 (not less than 14
days before sentencing). Failure to provide the restitution information or an explanation for why the
restitution information is not yet ascertainable by this date may result in an order to show cause
why the information could not have been timely provided and may result in the Court denying or
delaying restitution until after a hearing not to exceed 90 days after sentencing.

(5) Sentencing shall be on 10/23/2023 at 10:00 am. (Hither party may request an
extension of the sentencing date after the presentence report is filed if there are objections to
the presentence report which warrant further consideration and possible revision of the
report.)

(6) The presentence report, any revisions, and any proposed findings made by the
Probation Officer in the addendum to the report shall constitute the tentative findings of the
Court under section 6A1.3 of the sentencing guidelines. In resolving disputed issues of fact, the
Court may consider any reliable information presented by the Probation Officer, the Defendant,
or the Government, and the Court may issue its own tentative or final findings at any time before

or during the sentencing hearing.

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(7) Nothing in this Order requires the disclosure of any portions of the presentence

report that are not disclosable under Federal Rules of Criminal Procedure 32.

August 21, 2023 J 7 _—

Date Paula Xinis |
United States District J udge

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